                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

UNITED STATES OF AMERICA                              )
                                                      )       Case No. 1:11-cr-79
v.                                                    )
                                                      )       Chief Judge Curtis L. Collier
JEFFERY DALE MCCLENDON                                )

                                            ORDER

       Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

(1) grant Defendant’s motion to withdraw his not guilty plea to Counts Two and Four of the four-

count Amended Indictment; (2) accept Defendant’s plea of guilty to Counts Two and Four of the

Amended Indictment; (3) adjudicate Defendant guilty of the charges set forth in Counts Two and

Four of the Amended Indictment; (4) defer a decision on whether to accept the plea agreement until

sentencing; and (5) find Defendant shall remain in custody until sentencing in this matter (Court File

No. 32). Neither party filed a timely objection to the report and recommendation. After reviewing

the record, the Court agrees with the magistrate judge’s report and recommendation. Accordingly,

the Court ACCEPTS and ADOPTS the magistrate judge’s report and recommendation (Court File

No. 32) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

       (1)     Defendant’s motion to withdraw his not guilty plea to Counts Two and Four of the

               Amended Indictment is GRANTED;

       (2)     Defendant’s plea of guilty to Counts Two and Four of the Amended Indictment is

               ACCEPTED;

       (3)     Defendant is hereby ADJUDGED guilty of the charges set forth in Counts Two and

               Four of the Amended Indictment;

       (4)     A decision on whether to accept the plea agreement is DEFERRED until sentencing;




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            and

      (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

            scheduled to take place on May 10, 2012 at 9:00 a.m. [EASTERN] before the

            Honorable Curtis L. Collier.

      SO ORDERED.

      ENTER:

                                           /s/
                                           CURTIS L. COLLIER
                                           CHIEF UNITED STATES DISTRICT JUDGE




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